                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

Estate of ANDRE ALEXANDER                      )
GREEN, deceased,                               )
                                               )
                 Plaintiff,                    )
                                               )
         v.                                    )   CASE NO.: 1:17-cv-02673-TWP-TAB
                                               )
                                               )
CITY OF INDIANAPOLIS, et al.                   )
                                               )
                Defendants.                    )

                                 Motion for Summary Judgment

        The City of Indianapolis, Marc Klonne, Adam Mengerink, and Vincent Stewart

(“Defendants”), by counsel, respectfully move for summary judgment on each of Plaintiff’s

claims. In support of this motion, Defendants state:

        1.      The Estate of Andre Alexander Green’s claims allegedly arose when Officer Marc

Klonne, Officer Adam Mengerink, and Sergeant Vincent Stewart violated Green’s Fourth

Amendment rights by using excessive force to apprehend him on August 9, 2015.

        2.      Plaintiff sued the officers in their individual capacity for excessive force.

        3.      Plaintiff also brought Monell claims against the City of Indianapolis and the officers

in their official capacities.

        4.      The officers are entitled to qualified immunity because they did not violate Green’s

clearly established rights.

        5.      Plaintiff’s Monell claims fail because the City’s policies and customs did not cause

any constitutional violations.

        6.      Plaintiff’s claims against the officers are were not brought in a timely manner.



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        7.      Thus, Defendants are entitled to summary judgment on all claims.

        8.      When ruling on this motion, Defendants respectfully request that this Court

consider their brief in support of motion for summary judgment.

        WHEREFORE, Defendants respectfully requests this Court grant them summary judgment

and all other relief that is just and proper.

                                                Respectfully Submitted,



                                                 /s/ Andrew J. Upchurch
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                                CERTIFICATE OF SERVICE

       I hereby certify that October 19, 2018, a copy of the foregoing was filed electronically.

Service of this filing will be made on all ECF-registered counsel by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.

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